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 4
                          UNITED STATES DISTRICT COURT
 5
                                 DISTRICT OF NEVADA
 6

 7   UNITED STATES OF AMERICA,                   Case No. 3:12-cr-00015-HDM-WGC
 8                              Plaintiff,
           v.                                    ORDER
 9
     RANDY MACARIO ANCHETA,
10
                                Defendant.
11

12         On June 29, 2018, the court denied the defendant’s motion to

13   vacate pursuant to 28 U.S.C. § 2255. (ECF No. 142). The court

14   denied the motion on the merits and denied a certificate of

15   appealability. The Ninth Circuit also denied a certificate of

16   appealability. (ECF No. 160).

17         While   the    defendant’s     request        for   a   certificate      of

18   appealability was pending before the Ninth Circuit, he filed with

19   this court a “renewed” motion to vacate pursuant to 28 U.S.C. §

20   2255, seeking to preserve the filing deadline in the event the

21   government or any court found his prior § 2255 motion to be

22   untimely. (ECF No. 157).

23         The defendant’s § 2255 motion was disposed of by this court

24   on   the   merits,   and   the   Ninth       Circuit   declined   to   issue    a

25   certificate of appealability with respect to the court’s ruling.

26   There is therefore no basis for consideration of the defendant’s

27   “renewed” § 2255 motion.         Accordingly, the renewed motion for §

28   2255 relief (ECF No. 157) is hereby DENIED.


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 1        The   associated     civil    case,    3:20-cv-00384-HDM,   shall

 2   accordingly be CLOSED.

 3        IT IS SO ORDERED.

 4        DATED: This 11th day of January, 2021.
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                                       UNITED STATES DISTRICT JUDGE
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